Case 23-10961-BLS   Doc 162-3   Filed 08/15/23   Page 1 of 2




                EXHIBIT C
                                                   Case 23-10961-BLS      Doc 162-3     Filed 08/15/23    Page 2 of 2




  Dept     FIRST NAME LAST NAME                TITLE            KERP Payment KEIP Payment                          Comments
Officer    CHARLES    WHEELOCK CAO, General Counsel                          $ 50,000.00 Legal
Officer    DAWN       JENKINS   VP, HUMAN RESOURCES                          $ 50,000.00 Treasury & HR functions
Officer    TRACY      PAGLIARA  CHIEF EXECUTIVE OFFICER                      $ 50,000.00 Driving auction process/marketing/BK hearings/CEO
Officer    RANDALL    LAY       EXECUTIVE VP, COO                            $ 50,000.00 Bank relationships, CFO and COO
Corporate GARY        LEWIS     PROCUREMENT TOOL & EQ SPEC      $ 10,000.00               Procurement (sole source)
Corporate STEPHANIE MARTIN      MANAGER, ACCOUNT PAYABLE        $ 20,000.00               Accounts Payable (key employee)
Corporate Davin       Cravens   Project Controls Manager        $ 20,000.00               Project Controls (sole source)
Corporate MICHAEL     CUTRO     VP, SAFETY                      $ 20,000.00               Safety Program (key employee)
Corporate SANDRA      NEWTON    MANAGER, PAYROLL                $ 20,000.00               Payroll (sole source)
Corporate LISA        CAMPAGNA ACCOUNT PAYABLE SPECIALIST       $ 10,000.00               Accounts Payable (key employee)
Corporate GARY        VOLO      SR DIRECTOR, STRATIGIC INITVS   $ 50,000.00               PM transaction and BK (sole source - key to buyer)
Corporate JILL        FAITH     HRIS Coordinator                $ 10,000.00               HR and Labor Relations (sole source)
Operations DREW       REARDON   DIRECTOR, SAFETY                $ 15,000.00               Safety Program (key employee)
                                                                $ 175,000.00 $ 200,000.00
